                   Case 4:13-cr-00121-LGW-CLR Document 388 Filed 09/08/15 Page 1 of 1
AO 24?(Io/tl)                Modonfor Seotence
                OrderRegarding                       Pursua to t8U.S.C.S 3582(c)(2)
                                             Reduction                                  PaseI of2 (Paee2 Not for PublicDitclosuc)
                                                                                                                  ..- - FtLE0
                                                   UurtnnSrRrnsDrsrrucrCoURT
                                                                        for the
                                                                                                                 l8l5StP-8, flt t& trg
                                                          SouthemDistricto FGeorgia
                                                             SavannahDivision
                      UnitedStatesof America

                                                                              CaseNo:      4:l3CR0012l-1
                          WalisParra-Reyes                                    USMNo:       18260-021

Dateof OriginalJudgment:     April 15,2014                                   ThomasA. Withers
DateofPreviousAmendedJudgment:February11,2015                                          Attomey
                                                                           ) Defendant's
luse DaE ofLast.4 endedJudgnent, ifa rl

                                                                       ReductionPunu|nt to l8 U'S.C S 3582(c)(2)
                                     Order Regardiry Ntotionfor Sentence


           Uponmotionof lll the defendantIthe                   Directorof the Bureauof Prisonsl-l the courtunder18U.S.C.

S 3582(cX2)for a reductionin thetermof imprisonrnentimposedbasedon a guidelinesentencing   rangethathas
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesS€ntencing      Commission   putsuant to 28 U.S.C.
S 994(u),andhavingconsidered   suchmotion,andtakinginto aecountthe policystatement s€t forth at USSG$ 181.10and
             factorssetforth in 18U.S.C.$ 3553(a),to tlreextenttlat theyareapplicable,
the sentencing


IT IS ORDEREDthatthemotionis:
                                                                             fas/eJ'7e
                                                               of imprisonment
                                       previouslyimposedsentence                      inthetastiudsnent
                                                                                   cted
 fOeNmn.  [CneNTE'n andthe defendant's
isnrct of                  monthsis reducedto


                                             (Complete Parts I and II ofPage 2 when motion is Srqnted)




Except as ot}lerwiseprovided above,all provisions ofthe judgment dated
IT IS SO ORDERED.

OrderDate:



                                                                              DudleyH. Bowen,Jr.
EffectiveDate: November1,2015                                                 UnitedStatesDistrictJudge
                       (if diJferentfrom order date)                                              Printed name and title
